
389 U.S. 28 (1967)
ASSOCIATED PRESS
v.
WALKER.
No. 306.
Supreme Court of United States.
Decided October 16, 1967.
ON PETITION FOR WRIT OF CERTIORARI TO THE COURT OF APPEAL OF LOUISIANA, SECOND CIRCUIT.
William P. Rogers, Leo P. Larkin, Jr., Stanley Godofsky, Arthur Moynihan, Earl T. Thomas, John T. Guyton and Billy R. Pesnell for petitioner.
W. Scott Wilkinson and Clyde J. Watts for respondent.
PER CURIAM.
The petition for a writ of certiorari is granted. The judgment is reversed and the case is remanded for further proceedings not inconsistent with Curtis Publishing Co. v. Butts, 388 U. S. 130.
MR. JUSTICE BLACK, with whom MR. JUSTICE DOUGLAS joins, concurs in the result for the reasons stated in MR. JUSTICE BLACK'S separate opinion in Curtis Publishing Co. v. Butts, 388 U. S. 130, 170.
